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                                IN THE UNITED STATES DISTRICT COURT                             620/2.     z)\
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Alexandria Division
                                                                                 l:
  EQUAL EMPLOYMENT                                          CIVIL ACTION NO. l:llcv-874
  OPPORTUNITY COMMISSION,

                               Plaintiff,
                                                                  CONSENT DECREE
                                     v.



 DYNCORP INTERNATIONAL, LLC,

                               Defendant.




           The United States Equal Employment Opportunity Commission (the "EEOC") instituted
 this action pursuant to Section 706(f)(1) and (3) ofTitle VII ofthe Civil Rights Act of 1964, as
 amended, 42 U.S.C. Section 2000e-5(f)(l) and (3) ("Title VII"), and Section 102 of the Civil

 Rights Act of 1991, 42 U.S.C. § 1981(a), to correct alleged unlawful employment practices on
 the basis of sex and retaliation, and to provide appropriate relief to Charging Party James Friso,
 who alleges he was affected by such practices. The EEOC's Complaint alleged that DynCorp
 International, LLC ("DynCorp") committed unlawful employment practices in violation of Title
 VII by subjecting James Friso to a hostile work environment based on his sex (male), and by
 retaliating against him by transferring him toa lower paying position after he complained ofsex-
 based harassment. By entering into this Consent Decree, DynCorp does not admit the allegations
 contained inthe EEOC's Complaint. The EEOC does not disavow the allegations as set forth in
 the Complaint.

          This Consent Decree resolves all claims raised by the EEOC which stem from EEOC
 Charge No. 450-2007-01957 (James Friso v. DynCorp International LLC), and the EEOC
 Complaint, filed August 17, 2011, Docket #1, in this Lawsuit, and constitutes complete

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  resolution of all claims of unlawful employment practices under Title VII that were made or
  could have been made by the EEOC based on the Charge. The EEOC and DynCorp hereby
  stipulate to jurisdiction of the Court over the parties and agree that the subject matter of this
  actionis properly beforethe Court.

           The Parties have advised this Court that they desire to resolve the allegations in the
  Complaint without the burden, expense, and delay offurther litigation.
           It is therefore the finding ofthis Court, made on the pleadings and the record as awhole,
  that: (1) the Court has jurisdiction over the parties and the subject matter of this action; (2) the
  purpose and provisions ofTitle VII will be promoted and effectuated by this entry ofthe Consent
  Decree; and (3) this Decree resolves all matters in controversy between the parties as provided in
 paragraphs 1 through 15 below.

           It is therefore ORDERED, ADJUDGED AND DECREED as follows:

           1.        DynCorp shall not discriminate against any person on the basis ofsex, including
 subjecting employees to a sex-based hostile work environment, or any other protected category
 within the meaning of Title VII.

           2.       DynCorp shall not discriminate or retaliate against any person because of their
 opposition to any practice made unlawful under Title VII or because oftheir filing ofa Charge,
 their giving of testimony or assistance, or their participation in any investigation, proceeding, or
 hearing under Title VII.

          3.        DynCorp shall pay Charging Party James Friso a total sum ofOne Hundred Fifty
 Five Thousand Dollars and No Cents ($155,000.00) in settlement of the claims raised in this
 action for which DynCorp will receive a release ofall claims that arose out ofCharging Party's
 EEOC Charge No. 450-2007-01957. This sum shall be remitted in two separate checks. One


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  check shall be in the sum of Twenty Five Thousand Dollars and No Cents ($25,000.00), less
  applicable withholdings, which shall be for alleged backpay and for which DynCorp will issue
  the appropriate IRS Form W-2. The second check shall be in the sum of One Hundred Thirty
  Thousand Dollars and No Cents ($130,000.00), which shall be for alleged compensatory
  damages and for which DynCorp will issue an IRS Form 1099. DynCorp shall make payment by
  issuing these checks payable to James Friso. Payment shall be sent to Mr. Friso between
  February 1 and February 15, 2012, and DynCorp shall mail the checks to James Friso at an
  address provided by the Commission. Within ten (10) days after the checks have been sent,
  DynCorp shall mail to Lynette A. Barnes, Regional Attorney, Equal Employment Opportunity
  Commission, 129 W. Trade Street, Suite 400, Charlotte, North Carolina, 28202, a copy of the
  checks and proofof their delivery to James Friso.

           4.        Within ten (10) days of the entry of this decree by the Court, DynCorp shall
 remove from the personnel file of James Friso any and all documents, entries, or references of
 any kind relating to the facts and circumstances which led to the filing ofEEOC Charge Number
 450-2007-01957 and related events that occurred thereafter, including the filing ofthis lawsuit.
 Such documents shall be removed from James Friso's personnel file and placed in aseparate file.
 Within fifteen (15) days of the entry of this decree by the Court, DynCorp shall report
 compliancewith this provision to the EEOC.

           5.       DynCorp has a written anti-harassment policy in place (marked Attachment Aand
 hereby made part of this Decree) that it shall maintain throughout the term of this Decree.
 Additionally, DynCorp's practice is to distribute the policy to all new employees, and DynCorp
 shall maintain this practice during the term ofthis Decree. Within thirty (30) days ofthe entry of
 this Decree by the Court, DynCorp shall redistribute its written anti-harassment policy to each of


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  the training, and inform the Commission within ten (10) days after completion of the training
  program that the training was completed.

            The training program shall be completed within sixty (60) days after entry of the Decree
  by the Court.

            8.       Beginning within thirty (30) days after the entry ofthis Decree by the Court, and
  continuing throughout the term ofthis Decree, DynCorp shall conspicuously post the attached
  Employee Notice, (marked Attachment Band hereby made a part of this Decree), in a place
  where it is visible to employees at the worksites encompassed by the Theatre Aviation
  Sustainment Manager - Europe (TASM-E) where DynCorp employees are employed, which is
 the Division where Mr. Friso worked during his employment with DynCorp. This Notice shall
 remain posted for the term of this Decree. IfaNotice becomes defaced or unreadable, DynCorp
 shall replace it by posting another copy of the Notice to the extent that asupervisor of DynCorp
 becomes aware that the Notice is defaced or unreadable. Within forty-five (45) days after entry
 of this Decree, DynCorp shall inform the EEOC,. in writing, that the Notices have been posted
 pursuant to this provision.

           9.       During the term ofthis Consent Decree, DynCorp shall provide the Commission
 with reports at six (6) month intervals, with the first being due four (4) months after approval by
 the Court ofthis Decree. The reports will include the following information:
                    A.        The name and address of all DynCorp employees (located within the
 TASM-E Division) who, during the previous six (6) months, have complained about alleged
 harassment and/or discrimination based on sex under Title VII of the Civil Rights Act of 1964,
 or who have filed a charge and/or given testimony and/or information in connection with such a
 complaint or charge to the extent a DynCorp supervisor is aware of such complaints and/or


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   charges;

                      B.        For each individual identified in 9.A. above, provide abriefdescription of
   the individual's complaint and explain how DynCorp investigated the incident, including but not
   limited to: (1) who conducted the investigation; and (2) the outcome ofthe investigation;
                      C.        For each individual identified in 9.A. above, explain whether the
  individual's employment status has changed in any respect (for example, including but not
  limited to, termination, firing, demotion, promotion, or to part-time from full-time); and
                      D.        For each individual whose employment status has changed as identified in
  9.C. above, adetailed statement explaining why the individual's employment status has changed.
            In the event there is no activity to report pursuant to this paragraph, DynCorp shall send
  the EEOC a"negative" report indicating no activity.
            10.      The EEOC may review compliance with this Decree. As part ofsuch review, the
 EEOC may inspect DynCorp's facilities within the TASM-E Division where DynCorp
 employees are employed and interview employees, and examine and copy documents, including
 but not limited to all records required to be kept by the terms ofthis Decree.
           11.       Ifany time during the term of this Decree, the EEOC believes that DynCorp is in
 violation ofthe Decree, the EEOC shall give written notice of the alleged violation to DynCorp.
 DynCorp shall have thirty (30) days in which to investigate and respond to the allegations.
 Thereafter, the Parties shall then have aperiod of thirty (30) days or such additional period as
 may be agreed upon by them, in which to engage in negotiation regarding such allegations. If
 the Parties are unable to resolve the dispute by that time, the EEOC may then apply to the Court
 for appropriate relief.

           12.      The term ofthis Decree shall be for two (2) years from its entry by the Court.


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              13.         All reports or other documents sent to the EEOC by DynCorp pursuant to this
   Decree shall be sent to: (1) ifby mail, Lynette A. Barnes, Regional Attorney, Equal Employment
   Opportunity Commission, 129 W. Trade Street, Suite 400, Charlotte, North Carolina., 28202;
   and (2) ifby email, to the EEOC at EEOC-CTnn-^r^^^^^
             14.       Each party shall bear its own costs and attorneys' fees.
          15. This Court shall retain jurisdiction of this cause for purposes of monitoring
   compliance with this Decree and entry ofsuch further orders as may be necessary or appropriate.
  The Decree shall expire by its own terms at the end two (2) years, without further action by the
  Parties, at which point this lawsuit will be dismissed with prejudice.
  The Parties jointly request that the Court enter and approve this Consent Decree.


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                                                                     Claude M. Hilton
                                                                  United States District Judge



           This the 20th day ofDecember, 2011
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION, Plaintiff
 P. DAVID LOPEZ
 General Counsel

JAMES L. LEE
Deputy General Counsel

GWENDOLYN YOUNG REAMS
Associate General Counsel

LYNETTE A. BARNES
Regional Attorney



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  /s/ Edward O'Farrell Loughlin
  EDWARD O'FARRELL LOUGHLIN
  (VSBNo. 70182)
  Trial Attorney
  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION
  131 M Street, N.W., 4,h Floor
  Washington, D.C. 20507
  Telephone: (202)419-0748
  Facsimile: (202) 419-0739
  Email: edward.loughlin@eeoc.gov


 ATTORNEYS FOR PLAINTIFF

 /s/ Katherine A. Goetzl
 KATHERTNE A. GOETZL
 (VSB No. 41475)
 JASON BRANCIFORTE
 LITTLER MENDELSON, P.C.
 1150 17th Street, N.W.
 Suite 900
 Washington, D.C. 20036
 Telephone: 202.842.3400
 Facsimile           202.842.0011
 Email: ibranciforte<3>.littler.com

 ATTORNEYS FOR DEFENDANT




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    Date:         01 January 2011

    To:           DynCorp International Employees

                 DynCorp International's Commitment toa Harassment Work Free Environment

   It Is the policy of DynCorp International (the "Company") to provide all employees an opportunity to work in
   an environment free from sexual harassment by supervisors, other employees, clients, customers or
   suppliers. Sexual harassment is unacceptable in the workplace or in any business-related setting outside
   the workplace. The Company will not tolerate sexual harassment or any form of harassment under any
   circumstances. All employees are required to conduct themselves and treat others in the workplace
   respect and dignity.
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   Sexual harassment is defined by the U.S. Equal Employment Opportunity Commission and for purposes of
   mis policy as:                                                                                 r   r

          •Unwelcome sexual advances, requests for sexual favors, or other verbal or physical acts of a sexual
          or sex-based nature where:                                                                      «auoi

             (1) Submission to such conduct is made either explicitly or implicitly a term or condition of
                 employment;
             (2) Submission to or rejection of such conduct is used as the basis for decisions affectinq an
                 individual's employment; or                                                               a
             (3) Such conduct has the purpose or effect of unreasonably interfering with an individual's work
                 performance orcreating an intimidating, hostile oroffensive work environment."
   Any employee who believes he / she has been the subject of sexual harassment or who is aware of such
   conduct occurring in the workplace should report the alleged conduct immediately to his/her supervisor
   Human Resources, or DynCorp International Hotline at 1-877-396-4685 or via e-mail at
   www.dyncorpintamational.ethlcspoint.com. The Company Is committed to treating allegations of sexual
   harassment very senously and will promptly Investigate such complaints and take any necessary corrective
   toXJSSSSSSS!!**"""^^P°"Cy^beSUbJeCttQaPPWdisciplinarJaction, up
   DynCorp International will not tolerate retaliation against persons who report sexual harassment or
   cooperate in an investigation into an allegation of sexual harassment.                narassmem or
  The above policy statement regarding sexual harassment is a summary of and qualified in its entirety bv
  2E? Mlnf™?\4/5 Se.fa' &„WorkPlace Harassment. Employees are encouraged to fevfew the
  pohcy for additional information. DynCorp International will protect any person who lies si sexual
  harassment investigation from retaliation.                                                               xual
  DynCorp International




  SteveflF. GaffnSy-
  Chairman and Chief Executive Officei


                                                                                         ATTACHMENT A
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OFVIRGINIA
                                                   Alexandria Division

  EQUAL EMPLOYMENT                                                    CIVIL ACTION NO. l:llcv-874
  OPPORTUNITY COMMISSION,
                               Plaintiff,
                                                                              CONSENT DECREE
                                    v.



  DYNCORP INTERNATIONAL, LLC,

                               Defendant.


  1.
           This Notice is posted pursuant to asettlement between the U.S. Equal Employment Opportunity
           Commission and DynCorp International, LLC in a lawsuit alleging discrimination based on sex
           and retaliation, in violation ofTitle VII ofthe Civil Rights Act of1964, as amended.
 2.        Federal law requires that employers not discriminate against any employee or applicant for
           employment because of the individual's race, color, religion, sex, national origin, age (40 or
           older), genetic information or disability. Federal law also prohibits retaliation against employees
           because they have opposed unlawful employment discrimination or because they gave testimony
           or assistance in or participated in an employment discrimination investigation, proceeding, or
           hearingi or otherwise asserted their rights under the laws enforced by the EEOC. Title VII
           specificallyprohibits discriminationbased on sex.

 3.        DynCorp International, LLC will comply with such federal law in all respects. Furthermore
           DynCorp International, LLC will not take any actions against employees because they have
           exercised their rights, reported an alleged violation under the law or given testimony, assistance
           or participation in any investigation, proceeding or hearing conducted by the U. S Equal
           Employment Opportunity Commission.

 An employee may contact their local U. S. Equal Employment Opportunity Commission field office for
 the purpose offiling acharge ofemployment discrimination. To locate the nearest field office, contact:
                                         Equal Employment Opportunity Commission
                                                131 M. Street, NW, 4* Floor
                                                  Washington, DC 20507
                                                  TEL: 1-800-669-4000
                                                  TTY: 1-800-669-6820
                                                      www.eeoc.gov

 This Notice will remain posted for two (2) years by agreement with the U.S. Equal Employment
 Opportunity Commission.                                                                    }

 DO NOT REMOVE THIS NOTICE UNTIL:                                              2013
                                                                                        ATTACHMENT B

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